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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
MIDLANI)-ODESSA DIVISION

UNITED STATES OF AMERICA,

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) CRIMINAL NO. BY.._..

 

 

     

      

Plaintiff, )I_N_DIQIM_ENI_

V. )
) [Vio: 21 U.S.C. § 846 - Conspiracy
ERIC PAUL KRUEGER ) to Distribute & Possess With Intent
MICHAEL ZACHARIAH GOMEZ, ) to Distribute Controlled Substances]
USBALDO ENRIQUE CASTILLO, ) ‘ ` {~"“z §§ §§ j,§,
a/k/a, “Rick,” ) ” §§ ‘ §§ §§ iv 1

PATRICIA SUE HOWARD, )
CHRISTOPHER WREN HAMBY, )
RANDY RENE OLVERA, )
MICHAEL TERRELL RANDALL, )
JOHN CORBETT WILLIFORD, )
KRISTIN RENEA HAWKINS, )
KEVIN DWAYNE RODGERS, )
and RACHAEL FRANCINE SAVALA, )

Defendants. )

THE GRAND JURY CHARGES:
COUNT ONE

[21 U.S.c. § 846}

That from on or about January 1, 2006, to on or about December 13, 2007, in the

Western District of Texas and the Northern District of Texas, the Defendants,

ERIC PAUL KRUEGER,
MICHAEL ZACHARIAH GOMEZ,
USBALDO ENRIQUE CASTILLO, a/k/a, “Rick,”
PATRICIA SUE HOWARD,
CHRISTOPHER WREN HAMBY,

RANDY RENE OLVERA, l
MICHAEL TERRELL RANDALL,
JOHN CORBETT WILLIFORD,
KRISTIN RENEA HAWKINS,
KEVIN DWAYNE RODGERS,
and RACHAEL FRANCINE SAVALA,

 

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did combine, conspire, confederate and agree together and with each other, and with others
known and unknown to the Grand Jury, to distribute and possess With intent to distribute
controlled substances, which offense involved:

A) 50 grams or more of methamphetamine, contrary to Title 21, United States Code,
Sections 84l(a)(l) and 84l(b)(l)(A), and

B) 5 kilograms or more of cocaine, contrary to Title 2 l, United States Code, Sections
84l(a)(1) and 841(b)(l)(A),
All in violation of Title 21, United States Code, Section 846.

A TRUE BILLOrigina\ signed by the

foreperson of ththahdJ.s. ,
FGRZEPERSON OF THE GRAND JURY
JOHNNY SUTTON
United States cy
M
ARRAS

Assistant United States Attorney

 

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couNTY: Midiand D\vlsioN: MIDLAND JuDGE: JuNELi_

DATE: February 27, 2008 l\/lAG CT #: N/A FBi #:

cAsE No; Mo-oa-cR- AsslsT/-\NT u.s. ATToRNEY:' JEFF PARRAs
DEFENDANT: 1) ERlc PAUL KRuEGER DoB: XXXX)<X)<)<)<)<

 

 

ADDRESS: XXXXXXXXXXXXXXXXXXXXXXXXXXXXX

 

ClT|ZENSH|P: USA |NTERPRETER NEEDED NO LANGUAGE:

 

 

 

 

 

DEFENSE ATTORNEY: EMPLOYED
.r APPO|NTED
DEFENDANT |S:
ADDRESS:
DATE OF ARREST: Not Arrested BENCH WARRANT: XXX
PRGBAT|ON OFF|CER:

 

NAI\/|E AND ADDRESS OF SURETY;

 

YOUTH CORRECTIONS ACT APPL|CABLE: No

 

PROSECUT|ON BY: indictment

 

OFFENSE (Code and De`scription): Ct. 1 - 21 USC 846 - Conspiracy to distribute and
possess With intent to distribute 50 grams or more`of meth & 5 kilos or more of cocaine.

 

OFFENSE |S: ~FELONY

 

|\/iAXll\/|UM SENTENCE: Ct. 1 (both A & B) - A mandatory minimum 10 year term of
imprisonment not to exceed life imprisonment; a 5 year mandatory minimum term of
supervised release; a fine not to exceed $4 miliion; and a mandatory $100 special
assessment `

§ PENALTY |S l\/|ANDATORY: As Stated above.

REl\/|ARKS: AGENT:
Robby Mob|ey, I\/|PD
i\/|id|and Po|ice Department ……,»-1
601 North Loraine '
" Midiand, Texas 79701
WDT-Cr-a

 

 

 

 

 

 

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sEALEo: §§ ` “ uNsEALED: xx
CGUNTY: l\/lidland DlV|SlON: l\/llDLAND JUDGE: JUNELLv

DATE: February 27`, 2008 MAG CT #: N/A `FBl #:

CASE NO: |\/lO-OB-CR- ASS|STANT U.S. ATTORNEY: JEFF PARRAS
DEFENDANT: 2) l\/|lCHAEL ZACHAR|AH GOMEZ DOB: XXXXXXXXXX

 

ADDRESS: XXXXXXXXXXXXXXXXXXXXXXXXXXXXX

 

ClT|ZENSH|P: USA lNTERPRETER NEEDED NO LANGUAGE:

 

 

 

 

 

DEFENSE ATTORNEY: EMPLOYED
APPO|NTED
DEFENDANT |S:
ADDRESS:
DATE OF ARREST: Not Arrested BENCH WARRANT: XXX
PROBAT|ON OFF|CER:

 

NA|\/|E AND ADDRESS OF SURETY:

 

YOUTH CORRECT|ONS ACT APPL|CABLE: ~No ~

 

PROSECUT|ON BY: |ndictment

 

OFFENSE (Code and Description): Ct. 1 - 21 USC 846 - Conspiracy to distribute and
possess With intent to distribute 50 grams or more of meth & 5 kilos or more of cocaine.

 

OFFENSE |S: FELONY

 

l\/lAX|l\/lUl\/l SENTENCE: Ct. 1 (both A & B) - A mandatory minimum 10 year-term of
imprisonment, not to exceed life imprisonment; a 5 year mandatory minimum term of
supervised release; a fine not to exceed $4 million; and a mandatory $100 special
assessment

 

PENALTY lS l\/lA`NDATORY: As stated above.

 

REl\/lARKS: AGENT:
Robby l\/lobley, l\/lPD
l\/lidland Police Department
601 North Loraine
l\/lidland, Texas 19701

 

 

 

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DATE: February 27, 2008 lleo ct #: N/A Fsl #:

cAsE No; ivlo-oa-cR- AsslsTANT u.s. ATToRN`EY; JEFF PARRAs

DEFENDANT:' 3) usBALDo ENRlouE cAsTu_Lo Dos; xxxxxxxxxx

AooREss; xxxxxxxxxxxxxxxxxxxxxxxxxxxxx

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DEFENSE ATToRNEY: ' EMPLoYED
, APPolNTED

DEFENDANT ls;

AooREss:
DATE oF ARREsT: Not Arrested ` ` BENCH WARRANT: `xxx

 

 

PROBAT|ON OFF|CER:

 

NAl\/|E AND ADDRESS OF SURETY:

 

YOUTH CORRECT|ONS ACT APPL|CABLE: NO

 

PROSECUT-|ON BY: indictment f

 

OFFENSE (Code and Description): Ct. 1 - 721 USC 846 - Conspiracy to distribute and possess
With intent to distribute 50 grams or more of meth & 5 kilos or more of cocaine.

 

OFFENSE |S: FELONY

 

lVlAXll\/lUl\/l SENTENCE: Ct. 1 (both A & B) - A mandatory minimum 10 year term of
imprisonment, not to exceed life imprisonment; a 5 year mandatory minimum term of supervised
release; a fine not to exceed $4 million; and a mandatory $100 special assessment

 

PENALTY |S MANDATORY: AS Stated above.

 

REl\/lARKS: AGENT:
Robby Mobley, l\/lPD
|\/lidland Police Department
601 North Loraine

Midland, Texas 79701

 

 

 

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COUNTY: Midland D|V|SlON: l\/llDLAND JUDGE JUNELL

DATE: February 27, 2008 l\/lAG CT #: FB| #:

CASE NO: l\/lO-08-CR- _ASS|STANT U.S. AT_TGRNEY: JEFF PARRAS

DEFENDANT: l\/llCHAEL TERRELL RANDALL DOB: XXXXXXXXXX

ADDRESS: XXXXXXXXXXXXXXXXXXXXXXXXXXXXX

ClTlZENSHlP: USA lNTERPRETER NEEDED No LANGUAGE:

DEFENSE ATTORNEY: El\/|PLOYED
APPOlNTED

DEFENDANT lS:

ADDRESS: 1
DATE GF ARREST: ' BENCH WARRANT: YES
PROBATION OFF|CER:

 

NAl\/|E AND ADDRESS GF SURETY;

 

YOUTH CORRECT|ONS ACT APPLlCABLEI NO

 

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OFFENSE (Code and Description): _Ct. 1 - 21 USC 846 - Conspiracy to distribute and
possess With intent to distribute 50 grams or more of meth & 5 kilos or more of cocaine.

 

OFFENSE |S: FELONY

 

l\/lAXll\/lUl\/l SENTENCE: Ct. 1 (both A & B) - A mandatory minimum 10 year term of
imprisonment, not to exceed life imprisonment a 5 year mandatory minimum term of
supervised release; a fine not to exceed $4 million; and a mandatory $100 special
assessment

 

PENALTY` is MAN DAToRY: As stated above

 

REl\/IARKS: AGENT:
Robby Mobley, l\/lPD
l\/lid|and Police Department
601 North Loraine

l\/lidland', Texas 79701
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DATE:-February 27, 2008 1v1Ao cT# ' 1=B1#
cAsE _No: Mo_oe-cR- Ass1sTANT u s ATToRNEY JEFF PARRAs
DEFENDANT: .10111\1 coRBETT vv1LL1FoR0 003 xxxxxxxxxx
ADDREss; xxxxxxxxxxxxxxxxxxxxxxxxxxxxx ‘ '
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DEFENSE ATToRNEY; . » ~ EMPLo_YED

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DEFENDANT 1s:

ADDREss~: t _

DATE oF ARREsT: § BENCH WARRANT: YEs
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NAME AND ADDRESS OF SURETY:

 

 

-YouTH coRREcT1oNs ACT APPL1cABLE: No`

» PROSECUTlON BY: indictment

 

OFFENSE (Code and Description): Ct. 1~ 21 USC 846- Conspiracy to distribute and

 

possess With intent to distribute 50 grams or more of meth & 5 kilos or more of cocaine.
OFFENSE lS: FELONY `

 

MAXll\/lU|\/l SENTENCE: Ct 1 (both A & B)- A mandatory minimum 10 yeLr term of

imprisonment, not to exceed life imprisonment a 5 year mandatory minimum term of

. supervised release; a f ne not to exceed $4 million; and a mandatory $100 special v
assessment »

 

 

 

PENALTY lS lVlANDATORY: As stated above.

REMARKS: AGENT:

Robby Mobley, MPD _
Midland Police Department
601 North Loraine '
Midland, Texas 79701

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DATE: February 27, 2008 MAG cr #: 1=131 #;

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DEFENDANT: lesTlN RENEA HAvvk1Ns ` § DOB: xxxxxxxxxx

ADDREss; xxxxxxxxxxxxxxxxxxxxxxxxxxxxx

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NA|V|E AND ADDRESS OF SURETY:

 

YOUTH CORRECT|ONS ACT APPL|CABLE: NO

 

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OFFENSE (Code and Description): Ct. 1 - 21 USC 846 ~ Conspiracy to distribute and
possess With intent to distribute 50 grams or more of meth & 5 kilos or more of cocaine.

 

oFFENsE 1s; FELoNY

 

lVlAXll\/lUM SENTENCE: Ct. 1 (both A & B) - A, mandatory minimum 10 year term of
imprisonment, not to exceed life imprisonment a 5 year mandatory minimum term of
supervised release; a fine not to exceed $4 million; and a mandatory $100 special
assessment

 

PENALTY lS l\/lAN DATORY: As stated above.

 

REl\/lARKS: AGENT:
Robby l\/lob|ey, l\/lPD
l\/lidland Police Department
601 North Loraine
Midland, Texas 79701

 

 

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